          Case 5:20-cv-06408-NC Document 356 Filed 03/15/22 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA

                              CIVIL TRIAL MINUTES

 Date: March 15, 2022         Time: 6 hours           Judge: NATHANAEL M.
                                                      COUSINS
 Case No. 20-cv-06408 NC      Case Name: Comet Technologies USA INC., et al v.
                              XP Power LLC

Attorneys for Plaintiffs: Adam Alper, Michael De Vries, Sharre Lotfollahi,
                          Akshay Deoras, Leslie Schmidt

Attorneys for Defendant: Joseph Farrell, Patricia Young, Matthew Walch,
                         Jeffrey Homrig, Russell Mangas, Steven O’Donohue

Deputy Clerk: Lili Harrell                      Court Reporter: Summer Fisher


                                    PROCEEDINGS

Jury Trial – Day Three

Witnesses: Gary Russell, Rob Jardin, Kevin Faulkner
Video Depositions: Doug Beuerman, Christopher Mason, Jay Warner


      -    See attached Trial Log
